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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X                 5/2/2023
                                                                       :
ROBERT LEE MURRAY,                                                     :
                                                                       :
                                    Plaintiff,                         :
                                                                       :      21-cv-6718 (LJL)
                  -v-                                                  :
                                                                       :          ORDER
CITY OF NEW YORK et al.,                                               :
                                                                       :
                                    Defendants.                        :
                                                                       :
---------------------------------------------------------------------- X

LEWIS J. LIMAN, United States District Judge:

        On April 17, 2023, Plaintiff submitted releases for NYCPL § 160.50 records and for
health information pursuant to HIPAA. Dkt. No. 57. Plaintiff also filed a second amended
complaint on April 19, 2023. Dkt. No. 59. In light of Plaintiff’s submissions, Defendants are
ordered to provide a status update on the case by June 5, 2023.

        The Clerk of Court is respectfully directed to mail a copy of this order to Plaintiff.

        SO ORDERED.


Dated: May 2, 2023                                         __________________________________
       New York, New York                                             LEWIS J. LIMAN
                                                                  United States District Judge
